       Case 4:09-cr-00163-BRW Document 309 Filed 05/02/12 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA

v.                              4:09-CR-00163-02-BRW
                                4:09-CR-00163-03-BRW

GARRET SORENSEN, et al.

                                        ORDER

      The Government’s oral Motion to dismiss the Superseding Indictment as to Defendants

Katherine Sorensen and Shannon Walters is GRANTED.

      IT IS SO ORDERED this 2nd day of May, 2012.



                                                /s/ Billy Roy Wilson
                                                 UNITED STATES DISTRICT JUDGE




                                            1
